CONFIDENTIAL

 

Claimant: LEE/HUI i SSN: QP 0: pris i, 2018

14. COMPLETE THIS SECTION IF YOU ARE A TEMPORARY EMPLOYMENT SERVICES EMPLOYER:
[] The individual is not separated, is eligible for suitable work assignments, but no suitable work assignments
are currently available.

(1) Was claimant offered a new assignment? 1 Yes EINo If yes, did he/she accept? [1 Yes C]No

If the questions above do not apply to this claimant, please respond to either Item 15 or 16.
Please provide the following information regarding work refused:

 

 

Date offered} Type of work | Pay Rate: $ Days | Hours | Distance to site | Reason refused

 

 

OAR OWK OMO CBI-WEK CYR Go to #17

 

 

 

 

 

The following questions refer to the claimant’s last assignment:
Employer name and location:

 

 

Claimant’s job: First Day Worked: Last day worked:
Fay rate: > Work hours: Days worked:
OHR WK OMO OBI-WK OYR

 

 

 

 

15. COMPLETE THIS SECTION IF THE CLAIMANT QUIT.

a. What reason did the claimant give for quitting? (If you need more space, continue in Item 17.)

 

 

b. Did claimant give prior notification of resignation? [Yes [No If yes, please provide date:
If claimant gave notification was it: []Oral [Written (Please provide copy)

 

 

16. COMPLETE THIS SECTION IF THE CLAIMANT WAS DISCHARGED.
a. When you informed the claimant of the discharge, what reason did you provide?
Was this a policy violation? ClYes [JNo If yes, please provide documented proof as necessary.

b. Was the claimant warned regarding this behavior? LJ Yes [LJ No Date(s) of warnings for this behavior?

The warning(s) was: [Oral ClWritten (Both (Provide details regarding the nature of the warnings in
Item 17. Attach documentation.)

c. ‘Did the reason for discharge involve tardiness or attendance? [1 Yes [1 No If yes, please provide the dates
and reasons regarding incidents. :

 

 

 

17. COMPLETE THIS SECTION OR A SEPARATE SHEET FOR ADDITIONAL INFORMATION.

PoEon Llumingted

 

 

 

 

 

 

Name of the individual to contact for additional information. Contact Telephone Number

(32) ina
Signature Name Printed Title Date Signed
of LOWA Westwood HR Manager Uf) /2ow
Email address: \QU aw © mer \de+amenca. cOm Fax nnn: (ay ay

NOTE: 1f the claimant is filing an initial claim and you are also 2a base period employer, you wit! receive, under separate mailing,
Form NCUI 551L Notice of Unemployment Claim, Wages Reported and Potential Charges. MA 358

 

 

 

 

 

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